ATTACHMENT

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BROTHER T. HESED-EL,

v.

ROBIN BRYSON, et al.,

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IN THE UNEFED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NORTH CAROLINA
Civil Action No. 1:21-cv-305-MR-WCM

Plaintiff, PLAINTIFF’S SURREPLY IN OPPOSITION

TO DEFENDANTS’ REPLY IN SUPPORT
OF MOTION TO STRIKE PLAINTIFE’S
EXPERT WITNESSES [Doc. 177]

Defendants.

NOW COMES Brother T. Hesed-El (“Plaintiff”), pursuant to LCvR 7.1(e), and hereby

respectfully opposes Robin Bryson and Mission Hospital’s (collectively, “Defendants”) Reply in

Support of Motion to Strike Plaintiff's Expert Witnesses (“Reply”) [Doc. 177].

COMPLETE PROCEDURAL HISTORY

In Defendants’ Reply, their cited procedural history is incomplete. To correct their

oversight, Plaintiff has provided below the pertinent history and context omitted from their Reply.

I.

2.

January 2, 2024: Plaintiff served his Interrogatories and Requests for Production.
January 6, 2024: Plaintiff requested to depose Robin Bryson and Mission Hospitai.
Plaintiff offered six potential dates for each defendant to choose from, Plaintiff specified
that the proposed dates were contingent upon timely receipt of their responses to his
discovery requests. See Exhibit N.

January 10, 2024: Plaintiff followed up on his request for depositions. See Exhibit N.
January 15, 2024: Plaintiff provided the topics for a Rule 30(b)(6) meet and confer
concerning his request to depose Mission Hospital. See Exhibit N.

January 17, 2024: Bryson selected February 20, 2024, as her deposition date.

February 7, 2024: Plaintiff provided Bryson’s notice of deposition.

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ARGUMENT ABOUT THE DISCOVERY PERIOD

The Court’s Pre-Trial Scheduling Order provided that the “parties may consent fo
extensions of the discovery completion deadline so long as any such extension expires not later
than ten (10) days prior to scheduled trial time.” Here, the parties agreed to do just that, but Mr.
Walsh reneged on the agreement so Plaintiff would have no experts to establish standard of care,
breach, or causation. It would be a miscarriage of justice if the defense benefits from that tactic.

Defendants’ attorney abused the discovery process.

Plaintiff notified the defendants’ attorney on February 16, 2024 that should Dr. Weiss’s
medical condition continue to deteriorate, Plaintiff would file a motion to replace Dr. Weiss.
Defendants’ attorney had ample notice to prepare an additional witness if that were his concern.
Defendants’ attorney also had ample notice to request an extension of time to depose that
replacement witness, had that been his concern. But the events that unfolded between February
and March clearly demonstrate that the defendants’ attorney was not concerned about deposing
Dr. Weiss’s replacements, nor was he concerned about producing Bryson’s employment history,
training materials, or education documents that would show she failed to follow the requisite
procedures, standards, practice, and professional judgment.

These arguments are illuminated by the procedural history, some of which the defendants’
attorney omitted from his Reply. It’s interesting that he also omitted the same context when arguing
an “unintentional miscommunication” in response to Plaintiff’s motion to compel. See Doc. 161,
pg. 2. What the defendants’ attorney apparently forgot to mention in two separate filings is that
the parties agreed to file a joint consent motion asking the Court to extend the discovery deadline
so that additional witnesses could be deposed, including but not limited to Dr. Kaufman. To
expedite the process, Plaintiff took the initiative of proposing the joint motion and sent it to

Defendants’ attorney on February 16, 2024. Plaintiff asked that the motion be filed that same day

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so as to give the Court sufficient notice of the parties’ need for additional discovery time. In
response, Defendants’ attorney implied that he would file the motion by February 19, 2024, but
instead, he slow played then ultimately reneged on his commitment. Plaintiff followed up multiple
times all the way up through the day before the discovery window closed. See Exhibit S.

Despite their agreement to file the joint motion no later than February 19, 2024, the
defendants’ attorney intentionally delayed the filing of the joint motion as a strategic move
contemplated to limit the discovery of admissible evidence. Said tactics are evidenced by the fact
the defendants never provided basic documents such as Bryson’s résumé, waiver to conduct first
commitment exams, training materials, degrees, or the name of the program she attended at UNC.
That withholding of evidence is what forced Plaintiff to rely upon the responses from the
University of North Carolina, Vaya Health, and Department of Health and Humans Services.

Plaintiff did not have a “Trojan Horse” strategy in mind,

It was always Plaintiff's legal strategy to attack the defendants’ expert opinion after they
filed a report. This was no “Trojan Horse” strategy deployed at the 11 hour. This was made
abundantly clear by Plaintiff during the October 16, 2023 hearing when he asked that both parties
submit their expert reports at the same time. This was intended to enable the parties to file their
reports based on the record before the Court, and not allow the defendants to have the advantage
of crafting a specific response to Dr. Weiss’s report. Given that the Court denied Plaintiff's request
for fair expert disclosures, this indicated to Plaintiff that he would have the opportunity to reply to
the defendants’ expert disclosures just like permitted in motions practice.

ARGUMENT ABOUT THE REBUTTAL OPINIONS

As Doc. 162-1 clearly shows, a significant majority of Dr. Weiss’s report concerns forced
medication and the adverse effects that it had on Plaintiff’s mental status during Robin Bryson’s

examination of Plaintiff. Dr. Weiss discussed in detail why the administration of those narcotics

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likely were the real cause of Plaintiff's alleged stupor and insensibility.! As such, Plaintiff expected

‘and anticipated that the defendants’ case-in-chief would be more about the forced narcotics and
the adverse effects it had on Plaintiff's mental status during Robin Bryson’s examination of
Plaintiff. But to Plaintiff's surprise, Dr. Piqueras and Mr. Botts barely opined about that.”

In filing their responsive expert reports, the defendants’ experts attempted to proffer as
much cumulative evidence as possible to “underscore the validity of Bryson’s assessment”.? They
did very little to address the adverse effects of the forced narcotics, which in turn, made it necessary
that Plaintiff attack their opinions in the form of a rebuttal. The Court should also note that Dr.
Weiss made it clear that his opinion may evolve and develop as additional information became
available. That was a direct reference to the forthcoming reports of the defense. See Doc. 162-1, 9
1.23. So, the defense cannot genuinely argue that they were surprised.

The interpretations of Dr, Piqueras and Mr. Botts are rebuttable rumors.

It is not surprising that everyone on the defense would try to pile up their opinions about
Plaintiff. Yet, the opinions of Dr. Piqueras and Mr. Botts, much like the other defense experts,
amount to no more than unsubstantiated rumors offered as cumulative evidence. But that doesn’t
mean Plaintiff anticipated what they would actually say in their reports. On the contrary, Plaintiff

only expected that the defendants would respond to Dr. Weiss and Plaintiff's experts would reply.

! Oxford Languages defines narcotics as: MEDICINE ~ a drug that relieves pain
and induces drowsiness, stupor, or insensibility.

* Mr. Botts opined that the “initial and subsequent administration of
medication.was a critical intervention and reflective of standard

practices.” (Doc. 168-1, 9 58}. Similarly, Dr. Piqueras opined that “Dr. Weiss's
disapproval of the administration..fails to recognize the..ordering and
administration of medication... met the standard of care.” (Doc. 168-2, { 37)

+ “According to N.C. Gen. Stat. § 8C~1, Rule 403, otherwise relevant "evidence
may be excluded if its probative value is substantially outweighed by the danger
of unfair prejudice, confusion of the issues, or misleading the jury, or by
considerations of undue delay, waste of time, or needless presentation of
cumulative evidence." State v. Carroway, NO. COA10-1473, 14 (N.C. Ct. App. Aug.
16, 2011). A “rumor implies merely a report that is not yet finally credited”.
United States v. Curry, 512 F.2d 1299, 1304 n.9 (4th Cir. 1975}.

4 Defendants’ experts attempted to establish that their interpretations of
Plaintiff's medical records were good in Bryson’s favor and Plaintiff's experts
limited their rebuttal to showing their interpretations were bad. That is the
same kind of permissible rebuttal discussed in United States v. Curry.

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ARGUMENT ABOUT DR. RYAN KAUFMAN

Dr. Ryan Kaufman is a medical doctor licensed in the State of North Carolina and board
certified by the American Board of Psychiatry and Neurology in general adult psychiatry and
forensic psychiatry. He has treated hundreds of patients experiencing a variety of different
psychiatric disorders and is currently a full-time psychiatrist at a state psychiatric hospital in North
Carolina serving involuntary and voluntary patients with psychiatric illness. He has discussed this
case with Plaintiff, is willing to sit for a deposition, and is competent to testify at trial.

ARGUMENT ABOUT SHEIK JOHNS EL

Sheik Johns E! is an Ordained Public Minister and expert in Islamism and Moorish
American culture. Although Sheik E] is not qualified to make any medica! diagnoses, he is
qualified to provide psychotherapy under the pastoral counseling exemption of the State of

California to individuals who suffer from symptoms of mental and emotional trauma.

“In determining whether pastoral counselors should be held to the
same standard of care that might conceivably apply to a licensed
therapist under similar conditions, the court discussed public policy
considerations weighing against imposing such a duty, The court
noted, "the Legislature has exempted the clergy from the licensing
requirements applicable to marriage, family, child and domestic
counselors [citation] and from the operation of statutes regulating
psychologists [citation]. In so doing, the Legislature has recognized
that access to the clergy for counseling should be free from state
imposed counseling standards, and that the secular state is not
equipped to ascertain the competence of counseling when performed
by those affiliated with religious organizations.” Jacqueline R. v.
Household of Faith, 97 Cal. App.4th 198, 205 (Cal. Ct. App.
2002)(internal citation omitted). “Whenever a privilege is claimed
on the ground that the matter sought to be disclosed is a
communication made in confidence in the course of the...
psychotherapist-patient, the communication is presumed to have
been made in confidence and the opponent of the claim of privilege
has the burden of proof to establish that the communication was not
confidential." (Italics added.)” Roman Catholic Archbishop of L.A.
v. Sup. Ct., 131 Cal.App.4th 417, 442 (Cal. Ct. App. 2005).

Plaintiff discussed his medical records and this case with Sheik Johns El prior to Sheik

Johns El’s deposition, Sheik Johns El is competent to testify at trial. See Exhibit T.

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ARGUMENT ABOUT REPLACING DR. WEISS

As the procedural history shows, Plaintiff was diligent in his attempts to replace Dr. Weiss.
Plaintiff could not control that Dr. Weiss suddenly became ill.> Nonetheless, Plaintiff did move as
quickly as possible to mitigate the problem and keep the defense informed. Nearly two weeks
before Dr. Weiss became completely indisposed, Plaintiff notified Defendants’ attorney and the
parties agreed to file a joint motion to extend the discovery deadline. Had Mr. Walsh followed
through on his commitment to file the joint motion to extend the discovery deadline, he could have
prepared to depose Dr. Kaufman and Sheik El as Plaintiff's substitute experts. Therefore, if there
is any prejudice by allowing both experts to replace Dr. Weiss, it would be duc to the fault of
Defendants’ attorney and not because of any wrongdoing of Plaintiff.

ARGUMENT ABOUT SANCTIONS

There should be no sanctions against Plaintiff regarding this matter. Plaintiff's explanation
given for the failure to comply with the scheduling order is genuine; the importance of Sheik E!
and Dr. Kaufinan’s opinion is crucial; and there won’t be any undue prejudice to the opposing
party if the opinions of the substitute experts are allowed. Cf Palatkevich v. Choupak, No, 12-cv-
1681, 2014 WL 5463371, at *1 (S.D.N.Y. Oct. 22, 2014) (“The illness and sudden unavailability
of a designated expert is certainly good cause to modify a Rule 16 scheduling order, particularly
where the plaintiffs have been diligent in dealing with the problem, as was the case here.”)

CONCLUSION

Plaintiff has shown that he did not have a “Trojan Horse” strategy in mind. The record

shows that Plaintiff attempted in good faith to resolve ali discovery disputes in a timely manner, It

is Plaintiff's position that Mr. Waish reneged on the parties’ agreement to file a joint motion so as

5 See Exhibit U.

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to preserve for his clients an argument to strike Plaintiff's experts. Had Mr. Walsh filed the joint
motion on February 16, 2024, as requested, and deposed Sheik El and Dr. Kaufman after their
reports were filed, there would be no basis to strike them as experts for untimely disclosures.®

Dr. Weiss invested a considerable amount of effort to understand Plaintiff over a prolonged
period time, inclusive of Plaintiff's culture, religion, and the medical complexion of this case. As
a result, replacing Dr. Weiss with Sheik El (culture/religion expert) and Dr. Kaufman (medical
expert) can establish at trial the standard of care, breach, and causation of Plaintiff's injuries.

Taking into account Plaintiff’s pre se status, Defendants’ intentional abuse of the discovery.
process to limit or delay the discovery of admissible evidence, and the force majeure that caused

Plaintiff to withdraw Dr. Weiss, Plaintiff's experts should not be stricken from this action.’

Respectfully, this 29" day of Ramadan in the year 1445 AH, __

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c/o TAQI EL AGABEY MANAGEMENT
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®& To date, Defendants’ attorney still has not produced the documents Plaintiff
requested from Robin Bryson, which is the primary reason why Plaintiff was
unable to depose Robin Bryson and Mission Hospital.

? See Ale House Mgmt., Enc. v. Raleigh Ale House, Inc., 2006 WER 6663793, at *9
(H.D.N.C,. 2006) ("The credibility of the . . . ewidence and expert testimony is
appropriately determined by a jury."); accord Mosser v. Fruehauf Corp., 940
F.2d 77, 83 (4th Cir. 1991) (endorsing the notion that the jury should weigh
the evidence and credibility of competing experts); see also, e.g., Balt. &
Ohio R.R. Co. v. Deneen, 167 F.2d 799, 801 (4th Cir. 1948) (The "power to
resolve any conflicts .. . between the [parties'] evidence. .. [is] peculiarly
in the province of the jury.")

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CERTIFICATE OF SERVICE

This certifies that a true and correct copy of PLAINTIFF’S SURREPLY IN OPPOSITION
TO DEFENDANTS’ REPLY IN SUPPORT OF MOTION TO STRIKE PLAINTIFF’S EXPERT
WITNESSES has been sealed in an envelope with sufficient postage affixed thereon, and deposited
into the exclusive custody of the United States Post Office, to ensure delivery to:

Robin Bryson and Mission Hospital inc,
% Attorney Daniel H. Walsh
ROBERTS & STEVENS, P.A.
Post Office Box 7647

Asheville, North Carolina 28802
dwalsh@roberts-stevens.com

This 8" day of April in the year 2024 of the Gregorian calendar.

Ta Miae e  ad

Bro. T. Heséa=e

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